       Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 1 of 12



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

ROBERT J. FREY,                         *

       Plaintiff,                       *

vs.                                     *
                                                  CASE NO. 4:18-CV-191 (CDL)
ANTHONY BINFORD MINTER and              *
HAROLD BLACH, JR.,
                                        *
       Defendants.
                                        *

                                  O R D E R

       The Court granted Defendants’ summary judgment motion on

all    of   Robert    Frey’s   claims   against    them.    Anthony   Binford

Minter’s counterclaim for defamation remains pending for trial,

and his second motion to compel document production from Robert

Frey and non-party Hunton Andrews Kurth, LLP is now ripe.                    In

light of its summary judgment ruling, the Court ordered Minter

to notify the Court whether he intended to pursue the motion to

compel and, if so, to articulate why the information sought is

relevant to his counterclaim.           Minter responded that he seeks a

ruling on the motion to compel because although he has copies of

the allegedly defamatory documents on which he bases his claim,

as well as many other emails in which Frey says unflattering

things about Minter, he wants to find out if there are any other

documents relevant to whether Frey acted with malice when he

made   the   allegedly     defamatory    statements.       Frey   argues   that
       Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 2 of 12



there is no need to decide the motion to compel, asserting that

the counterclaim lacks merit, that permitting Minter to discover

documents      relevant    to    a    “sham”   counterclaim          would    impose   an

undue burden on him, and that it would be “a serious waste of

the   Court’s    time”     to    permit    the      counterclaim      to     proceed    to

trial.    Pl.’s Resp. to Def.’s Resp. to Court 1-2, ECF No. 106.

But Frey did not file a summary judgment motion on Minter’s

counterclaim or seek leave to do so out-of-time, so the Court

plans to try the counterclaim unless the parties resolve it.

Thus, the Court must decide the second motion to compel.                                As

discussed      below,    the    motion    (ECF      No.   95)   is    granted    to    the

extent that Frey shall produce omitted portions (if any) of

three email chains.         The motion is otherwise denied.

                                      DISCUSSION

I.     Motion to Compel Responses from Robert Frey

       The Court previously ordered Frey to respond to Minter’s

first request for production of documents.                      Order Granting Mot.

to Compel 6 (June 12, 2019), ECF No. 88.                        Minter asserts that

Frey did not adequately respond to his document requests because

Frey’s form of production is not reasonably usable and some

documents      are      missing.         Minter      requested        “[a]ll     written

communication (electronic or otherwise) between [Frey] and Kurt

A.    Powell    from    July    31,    2012    to    the    present.       The   request

includes communications between you, Powell, and third persons.”



                                           2
       Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 3 of 12



Def.’s Req. for Produc. of Docs. 2 ¶ 1, ECF No. 79-3.                      He also

requested “[a]ll written communication (electronic or otherwise)

between [Frey] and Sal Diaz-Verson from January 1, 2015 to the

present. The request includes communications between you, Diaz-

Verson, and third persons.”          Id. at 2 ¶ 2.

       A.    Form of the Production

       Minter did not specify a format for producing electronic

information like emails (such as TIF, PDF, or native format),

though he asked to receive it “via read-only optical storage

disc, flash media, or cloud/online storage made accessible to

Defendant.”     Def.’s Req. for Produc. of Docs. 2 ¶ 5.                   According

to Minter, Frey responded to his document requests by producing

a   single    156-page    document    that    includes       emails      and    other

documents that Frey printed and then physically cut and arranged

on a scanner to create a PDF document.               Minter argues that this

form   of    production   violates    Federal       Rule    of   Civil   Procedure

34(b)(2)(E).       Rule   34   requires      that    a     “party   must       produce

documents as they are kept in the usual course of business or

must organize and label them to correspond to the categories in

the request.”       Fed. R. Civ. P. 34(b)(2)(E)(i).                 And, if the

“request does not specify a form for producing electronically

stored information, a party must produce it in a form or forms

in which it is ordinarily maintained or in a reasonably usable

form or forms.”     Fed. R. Civ. P. 34(b)(2)(E)(ii).


                                        3
       Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 4 of 12



       The Court reviewed Frey’s production.                      It does appear to be

a collage of cut-and-pasted emails.                      Certainly, that is not the

form in which the emails are ordinarily maintained.                                But it is

reasonably usable, even if Frey did not expressly organize the

emails    to    correspond       to    Minter’s        categories.          Based    on     the

Court’s review, the first half of the PDF document contains

messages       that     are   generally       responsive         to    Minter’s      request

number    1,    and     the   second    half      of     the    PDF    document     contains

messages       that     are   generally       responsive         to    Minter’s      request

number 2.           They are mostly organized by date, although some

emails were not arranged on the scanner in precise chronological

order.         Given    Frey’s    representation           that       he   had    difficulty

producing pre-2016 emails because he used a now-obsolete program

to store them and has not yet found an efficient way to view the

messages       or    import   them     into    his       current      email      program,    it

appears     that       Frey   could    only       cure    the    shortcomings        in     his

production by reprinting the emails and scanning them again, but

without cutting and pasting first.                     But, except for a few emails

discussed below, Minter already has the documents he sought.

With   an      eye     towards   proportionality,              the    Court      finds    that

requiring Frey to produce all these emails again, in a slightly

different format, is unwarranted.                      The Court therefore declines

to order Frey to supplement his production based on the form.




                                              4
       Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 5 of 12



       B.   Incomplete Email Chains

       Minter   argues      that    Frey    did    not    produce     the   complete

content of some emails because he omitted portions of email

chains when he cut and scanned them.               Minter contends that pages

8, 15, and 33 of Frey’s production are incomplete email chains.

       Based on the Court’s review, it appears that Frey may have

only included portions of two email chains that were directly

between Frey and Powell and did not include one or more of the

preceding messages in each email chain.                   See Def.’s 2d Mot. to

Compel Ex. A, Pl.’s Resp. to Def.’s Req. for Produc. of Docs. 8,

portion of email chain between R. Frey, B. Voelzke & K. Powell

(Jan. 17, 2013), ECF No. 95-2 at 8; Def.’s 2d Mot. to Compel Ex.

A, Pl.’s Resp. to Def.’s Req. for Produc. of Docs. 15, email

from K. Powell to R. Frey (Sept. 30, 2015), ECF No. 95-2 at 15

(purporting       to     forward    message       with    subject     “Diaz/Blach:

Amendable Defect”).             If Frey did omit portions of those email

chains that were ultimately sent from Frey to Powell (or vice

versa), he should not have.              It is not clear that any portion of

the chain has been omitted on page 33, but if it has, it should

not have been.          See Def.’s 2d Mot. to Compel Ex. A, Pl.’s Resp.

to Def.’s Req. for Produc. of Docs. 33, Email from R. Frey to K.

Powell (Jan. 27, 2016), ECF No. 95-2 at 33 (forwarding email

with    subject        “HB377    (from    2013,    2014    &   2015    sessions)”;

forwarded message appears to be included).


                                           5
        Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 6 of 12



        In summary, if Frey did not produce all of the messages in

these    three     email   chains      that    were   ultimately   included   in

communications between Frey and Powell, he should have.                    They

are part of communications between Frey and Powell, even if

neither was the sender of the original message in the chain.

Accordingly, Minter’s motion to compel on this point is granted.

Within       fourteen   days,   Frey   shall    produce   to   Minter   complete

copies of the email chains discussed above.

        C.     Emails From Third Parties to Frey

        Minter complains that Frey did not produce communications

from third parties to Frey that were copied to Powell, such as

emails from associates who worked for Powell.                   But it is not

clear from Minter’s request that he sought communications from

third parties to Frey that copied Powell.                 Such communications

are not “between” Frey and Powell.              Frey is thus not required to

produce them.

        D.     “Redacted” Emails

        Minter asserts that Frey redacted portions of emails on

pages 43, 65, 65, 88, 92, 124, and 151 of his production.                 Based

on the Court’s review of pages 43, 64, 65, 88, 92, and 124, the

marks—which Frey attributes to his scanner—are not “redactions.”

Moreover, Frey produced new copies of most of these documents.

This issue is moot.




                                          6
      Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 7 of 12



      Page 151 is redacted.       It is an email from Diaz-Verson to

Frey forwarding a joke, and Frey redacted the names and email

addresses of the other recipients.        The Court cannot see how the

forwarded joke is relevant to any claims in this action.                And,

Frey has produced an unredacted version, so this issue is moot.

      E.    Minter’s Request for Expenses

      Because most of the problems with Frey’s response likely

could have been avoided if Minter had specified a format for

producing emails and more clearly expressed which communications

he requested, the Court declines to award Minter expenses.               Cf.

Fed. R. Civ. P. 37(b)(2)(C) (requiring disobedient party to pay

reasonable expenses caused by his failure to comply with a court

order “unless the failure was substantially justified or other

circumstances make an award of expenses unjust”).

II.   Motion to Compel Responses from Hunton Andrews Kurth, LLP

      Minter subpoenaed documents from non-party Hunton Andrews

Kurth, LLP.    The documents sought by that subpoena are the same

documents   that   are   the   subject   of   Minter’s   document    request

number 1 to Frey: all written communication between Frey and

Kurt A. Powell from July 31, 2012 to the present.                   Although

Hunton objected to the subpoena, it produced forty-nine e-mails

and a privilege log describing thirty-five additional e-mails

that were sent and received in 2012 relating to Diaz-Verson’s

settlement with Porter Bridge and the assignment of the judgment



                                     7
        Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 8 of 12



to Frey.     Minter asserts that this production was not enough and

filed    a   motion   to      compel    production   of     all    other   documents

responsive to his subpoena.               Hunton objects to producing any

additional documents because the cost of producing them would be

significant.

       The   Court    granted     the    original    motion       to   compel    as   to

Hunton because it concluded that Minter had the right to assure

himself that Frey’s production was complete by subpoenaing the

documents from Hunton.            But, the Court expressed concern about

imposing unnecessary costs on a non-party because the documents

are available from a party.              After all, a party may only obtain

discovery “that is relevant to any party’s claim or defense and

proportional to the needs of the case,” and the Court “must

limit the frequency or extent of discovery otherwise allowed by

these rules or by local rule if it determines that . . . the

discovery sought is unreasonably cumulative or duplicative, or

can be obtained from some other source that is more convenient,

less    burdensome,      or    less     expensive”    or    “the       party    seeking

discovery has had ample opportunity to obtain the information by

discovery     in   the   action.”        Fed.   R.   Civ.    P.    26(b)   (emphasis

added).      Here, Minter requested communications between Frey and

Powell for a period of seven years, regardless of whether they

mention him, the garnishment actions, or the action underlying

the garnishment actions.               And, Minter’s subpoena to non-party


                                           8
        Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 9 of 12



Hunton was duplicative of his document request to Frey.                                  The

Court therefore ordered that if Minter wished to pursue his

subpoena against Hunton, Minter should pay for Hunton’s expenses

associated with responding to the subpoena.

        The    Court   instructed        Hunton     to   provide    Minter        with    an

estimated cost for responding to the subpoena, and the Court

told Hunton that if it claimed privilege as to any documents, it

should    produce      the     documents     in    camera   to   the     Court     with    a

privilege log.          Order 8 (June 12, 2019), ECF No. 88.                       Hunton

informed Minter that it had identified roughly 860 potentially

responsive documents and that it would incur $22,932.00 in costs

and expenses to review and produce the documents and privilege

log.1    Def.’s 2d Mot. to Compel Attach. 4, Letter from E. Taylor

to A. Minter (June 26, 2019), ECF No. 95-4.

        Minter seeks clarification on what the Court meant when it

stated        that    Minter       should    pay    “expenses       associated       with

responding to” his subpoena.                     Order 8 (June 12, 2019).                 He

suggests that the Court only meant that Hunton could recover

“costs” similar to those recoverable in a taxation of costs

under    Federal       Rule    of    Civil   Procedure      54(d)      and   28    U.S.C.

§ 1920,       and    that    the    Court    did   not   intend     to    have     Minter

compensate       Hunton      for    a   privilege    review      because     the    Court



1 It is not clear whether this number includes the eighty-four emails
from 2012 that were already produced or listed on a privilege log.


                                             9
      Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 10 of 12



“reserved for itself the discretion to make determinations as to

privilege.”     Def.’s Mem. in Supp. of 2d Mot. to Compel 6, ECF

No. 95-1.     To be clear, the Court meant that Minter should pay

expenses, including attorney’s fees, that non-party Hunton must

incur to respond to his subpoena.               And, the Court certainly did

not volunteer to conduct a privilege review of 860 documents.

Rather, the Court stated that it would review a privilege log

and any documents to which Hunton claims privilege.                    To create

the   privilege     log,    Hunton     must      review    the   documents     for

privilege.      Minter argues Hunton’s assertion of privilege on

behalf of its client, Sal Diaz-Verson, is unfounded and that the

documents he seeks are not covered by attorney-client privilege,

but   the   Court   finds   that     his      arguments   on   this   ground   are

unpersuasive.       To comply with its ethical obligation not to

produce attorney-client privileged documents, Hunton must review

the documents for privilege before it produces them.                   If Minter

wants Hunton to undertake this effort, he must pay for it.

      Minter argues that even if Hunton may recover its expenses,

including    attorney’s     fees   for     a   privilege   review,     the   rates

Hunton quoted in its estimate are unreasonable.                  Minter suggests

that Hunton should be limited to the prevailing market rate in

the Middle District of Georgia, rather than the Atlanta rates it

quoted in its estimate.        Minter did not cite any authority that

a court, in shifting a non-party’s costs of compliance with a


                                         10
        Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 11 of 12



subpoena, must limit expenses to the prevailing market rate in

the court’s district.          He did not submit any evidence regarding

the reasonableness of Hunton’s quoted rates, which Hunton argues

are its customary rates that it charges its clients.                         And, he

did not propose a reasonable rate.                 Based on this record, the

Court     declines      to   find    that     Hunton’s         quoted     rates     are

unreasonable for purposes of responding to Minter’s subpoena.

        The Court recognizes that Hunton did partially respond to

Minter’s subpoena on March 21, 2019 and that in doing so, it

reviewed a small number of documents and produced a privilege

log   describing      thirty-five    emails       that    it   withheld    based    on

attorney-client privilege.           If Minter wishes to have the Court

review     the    thirty-five    emails     and     Hunton’s      March    21,     2019

privilege     log    (notwithstanding       the    fact    that    the    Court    has

already rejected his argument that the documents could not be

covered      by   attorney-client      privilege),         he     shall     file     an

appropriate motion.          Before filing such a motion, Minter should

consider     whether    it   would   further       the    first    rule    of     civil

procedure: that the parties must employ the rules “to secure the

just, speedy, and inexpensive determination of every action and

proceeding.”        Fed. R. Civ. P. 1.

        Finally, Hunton seeks the fees it incurred in responding to

Minter’s second motion to compel.                  At this point, the Court




                                       11
     Case 4:18-cv-00191-CDL Document 110 Filed 10/17/19 Page 12 of 12



declines to find that Minter engaged in misconduct or acted in

bad faith, and Hunton’s request for fees is thus denied.

                               CONCLUSION

     As discussed above, Minter’s second motion to compel (ECF

No. 95) is granted to the limited extent set forth above but

otherwise denied.

     IT IS SO ORDERED, this 17th day of October, 2019.

                                        s/Clay D. Land
                                        CLAY D. LAND
                                        CHIEF U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




                                   12
